Case 2:03-cr-20372-.]Pl\/| Document 53 Filed 07/19/05 Page 1 of 5 PagelD 57

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uNlTEo sTATEs oF AM A Tlltl}}f§ASmiét GOuD
_v_ 2:03cR20372-01-Ml CLHWH,@" 915 ;-;y §§Hptggcgum

CHARLES LOVEBERRY
Michael Scho||l CJA
Defense Attorney
8 South Third Street, 4"‘ Floor
Memphisl TN 38103

 

*A-M-E-N-D-E-D JUDGMENT |N A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on lV|ay13, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title a section M\MFLS€ Offense Number¢s)
Concludecl
18 U.S.C. § 922(g) Felon in Possession of a Firearm 09/29/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

 

Defendant’s Soc. Sec. No. 411»2‘|-1278 Original Date of |m_position of Sentence:
Defendant’s Date of Birth: 06/16/1965 OCtober 15, 2004
Deft’s U.S. lVlarsha| No.: 19424~076 Amended: July 18, 2005

Defendant’s Nlailing Address:
1093 NlcClure
Memphis, TN 38116

/Q?Q Mr;(\M

N PH|PPS MCCALLA
U TED S ATES DlSTR|CT JUDGE

July iq , 2005

This document entered oh the docket sheet |n com fiance
with Ruia ;: and/or 32(b) F’HCrP on ' 53

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Case 2:03-cr-20372-.]Pl\/| Document 53 Filed 07/19/05 Page 2 of 5 PagelD 58

Case No: 2:030R20372-01-Ml Defendant Name: Charles LOVEBERRY Page 2 of 4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Months or 10 Years.

The defendant is remanded to the custody of the United States Marshal.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

Case 2:03-cr-20372-.]Pl\/| Document 53 Filed 07/19/05 Page 3 of 5 PagelD 59

Case No'. 2:03CR20372-01-M| Defendant Name: Charles LOVEBERRY Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERViS|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofhcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent pieces where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:03-cr-20372-.]Pl\/| Document 53 Filed 07/19/05 Page 4 of 5 PagelD 60

Case No: 2103CR20372-01-|Vll Defendant Name: Charles LOVEBERRY Page 4 of 4

law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a iaw
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD\T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1 The defendant shall submit to drug & alcohol testing and drug & alcohol treatment programs
as directed bv the Probation Office.

2 The defendant shall cooperate with DNA collection as directed bv the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Total Restitution
$1 00.00

 

The Special Assessment shall be due immediately
FINE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

   

UNITED sTATE DISTRIC COURT - WTERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 53 in
case 2:03-CR-20372 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Miehael EdWin Seholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable Jon MeCalla
US DISTRICT COURT

